Case 1:25-ev-04434-AT Document 3 Filed |

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JUDGE TORRES
AQ 440 (Rev. 06/12) Suramons in a Civil Action

UNITED STATES DISTRICT COURT

forthe
Southern District of New York

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OTHMAN [bela _ }
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Plaintiffts) ee,
v. . Civil Action No.
Auyortvom Rees IG Sent es INC Ag
Fustieawice Resiclerfol New snkK tne}
Defendant(s} U a yc
SUMMONS IN A CIVIL ACTION

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New yeule, Ny 10zF|

’ A lawsuit has been filed against you.
ymmons on-you (not counting thé day you received it) — or 60 days if you
or an officer or employee of the United States described in Fed. R. Civ.

complaint or 3 motion under Rule 12 of
the plaintiff or plaintifi’s aitomey,

To! (Defendant's name and address) : ¢
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Within 21 days after service of this s

are the United States ot a United States agency,
P. 12 (a)(2) or (3) — you nmst serve on the plaintiff an answer tothe aftached,

the Federal Rules of Civil Procedure. The answer or motion maust ‘be served on
whose name and address are: 1) 4 LEA AKL Cbe la
[47-36 Vehue, Apt (7B
FAMAICE) NU ASS
If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.

You also nust file your answer of motion with the court.

Re CLERK OF COURT

Y

Signature af Clerk of Deputy Clerk

Date: 05/2 ¢ ands . .

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Case 1:25-cv-04434-AT Document3 Filed 05/28/25 wee. 2 of 2

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_ UNITED STATES DISTRICT COURT

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Southem District of New York wots

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Civil Action No.

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ds LE Newel tne
Defendant(s) 3. ~ ,

SUMMONS IN A CIVIL ACTION

To: Defendant's name and address)
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Pande bite Pee
B31. 53rd Shel’

NLM 0h Ny 10019

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P. 12 (a)(2) or (3) — you must serve
fhe Federal Rules of Civil Procedure. The answer or motion must ‘be served i on the lait or ¢ plaintifi

whose name and address are: OFM AN Cbel&
[47-36 Pave, Apt [1B
JAMAICA, Ny 1435

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint

You also must file your answer or motion with the court.

CLERK OF COURT

Stenature of Clerk or Deputy Clerk

Date: 05 fag | 20.2 L : nN

